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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
CASE NO. 1:21-er-00552 (DLF)

Vy.

KENNETH JOSEPH OWEN THOMAS, :

Defendant.
VERDICT FORM
Count One: Civil Disorder
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Guilty Not Guilty

Count Two: Obstruction of an Official Proceeding
yA

Guilty Not Guilty

Count Three: Assaulting, Resisting, or Impeding Certain Officers (Anderson)
if

Guilty” Not Guilty

Count Four: Assaulting, Resisting, or Impeding Certain Officers (Nickerson)

x

Guilty Not Guilty

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Count Five:

Assaulting, Resisting, or Impeding Certain Officers (Ainsworth)

Undecided -

Guilty

Count Six:

4

Not Guilty MW (on ansus

Assaulting, Resisting, or Impeding Certain Officers (Veizaj)

Guilty

Count Seven:

SC

Not Guilty

Assaulting, Resisting, or Impeding Certain Officers (Niewenhous)

Guil ty

Count Eight:

MC

Not Guilty

Entering or Remaining in a Restricted Building or Grounds

Guitty

Count Nine:

x

Not Guilty

Disorderly or Disruptive Conduct in a Restricted Building or Grounds

Guilty :

Count Ten:

Not Guilty

Engaging in Physical Violence in a Restricted Building or Grounds

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Guilty

Count Eleven:

Not Guilty

Disorderly Conduct in a Capitol Building or Grounds

— UM teodel ~

Guilty

Not Guilty no uM OMl4

to
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Count Twelve: Act of Physical Violence in the Capitol Building or Grounds
Guilty Not Guilty

Dated this | —_ day of June, 2023

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